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8
                         UNITED STATES DISTRICT COURT
9
                        CENTRAL DISTRICT OF CALIFORNIA
10
                                                      )     Case No.
11
      TERRY FABRICANT, individually                   )
      and on behalf of all others similarly                   2:20-cv-08767-JFW-JC
12                                                    )
      situated,
13    Plaintiff,                                      )
      vs.                                             )
14
      ATLANTIC BUSINESS                               )     NOTICE OF VOLUNTARY
15    CONSULTING & CAPITAL, LLC                       )     DISMISSAL OF ACTION WITH
      d/b/a FINANCE FACTORY, and                      )     PREJUDICE AS TO PLAINTIFF
16    DOES 1 through 10, inclusive, and each                AND WITHOUT PREJUDICE AS
                                                      )
      of them,
17                                                    )     TO THE PUTATIVE CLASS.
      Defendant.
18
                                                      )
                                                      )
19

20   NOW COMES THE PLAINTIFFs by and through their attorneys to respectfully
21   move this Honorable Court to dismiss this matter with prejudice as to plaintiff
22   and without prejudice as to the class. No Defendant has filed either an answer or
23   a motion for summary judgment at this time, and no Court order is necessary
24   pursuant           to           the               Fed.            R.     Civ.   P.
25   Respectfully submitted this 10th Day of February, 2021,
26
                                                 By: s/Adrian R. Bacon Esq.
27
                                                      Adrian R. Bacon
28                                                  Attorney for Plaintiff



                                           Notice of Dismissal - 1
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1                            CERTIFICATE OF SERVICE
2
     Filed electronically on February 10, 2021, with:
3

4    United States District Court CM/ECF system
5
     Notification sent electronically on February 10, 2021, to:
6

7
     To the Honorable Court, all parties and their Counsel of Record

8

9                                            By: s/Adrian R. Bacon Esq.
                                                  Adrian R. Bacon
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                                                  Attorney for Plaintiff
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                                       Notice of Dismissal - 2
